Case 1:04-cv-01105-.]DT-STA Document 8 Filed 06/30/05 Page 1 of 6 Page|D 11

IN THE UNITED STATES DISTRICT COURT 95 Ji_ii"'i" 3{') F‘l”‘i 31 fi i?

FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

EASTERN DIvIsIoN ii a gi i's;;;_ig
iij ij S, DSST. Ci
i *~ ill Jr"t=§i<§{_`i?\-i
l
JOHN L. EARNEST, L
ll
Petitiorier, §
ll
vs. § No. 04-1105-T/An
ll 5- isi -'i'//*ri
JAMES DAVIS, § 0 f
ll
Respondent. §
ll

 

ORDER CONSTRUING IRREGULAR FILING AS SUCCESSIVE MOTION
AND
ORDER TRANSFERRING MOTION UNDER 28 U.S.C. § 2244(b)(3)
TO UNITED STATES COURT OF APPEALS FOR THE SIXTH CIRCUIT

 

Petitioner, John Lavelle Earnest, prisoner registration no. 148554, an inmate at the
Wayne County Boot Camp (WCBC), in Clifton, Tennessee, filed a habeas petition under 28
U.S.C. § 2254. Earnest alleged that his guilty plea Was involuntary, his sentence breached
his plea agreement, and counsel provided ineffective assistance On March l, 2005, the
Court dismissed the petition as barred by the statute of limitations1 after determining that
Earnest presented no circumstances Which entitled him to equitable tolling.2 The Court

entered its judgement on March 4, 2005.

 

1 The Antiterrorism and Effective Death Penalty Act of 1996, Pub. L. No. 104-132, 110 Stat. 1214 (Apr.
24, l996)(codified, inter alia, at 28 U.S.C. § 2244 et seq.)(AEDPA) created in § 2244(d) a statute of limitations for
filing habeas petitions under § 2254.

2 Earnest signed his habeas petition on May 12, 2004, and it was received and filed by the Clerk on May

17, 2004. Earnest's conviction was final on Septeinbcr 8, 1997, when the time for filing an application for permission
to appeal to the Tennessee Supreme Couit expired Tenn. R. App. P. ll(b). Earnest's AEDPA statute of limitations
expired on September 8, 1998.

§§ @

Case 1:04-cv-01105-.]DT-STA Document 8 Filed 06/30/05 Page 2 of 6 Page|D 12

On June 2, 2005, Earriest filed a typewritten document entitled “PETITION
REQUESTING RELEASE IN ACCORDANCE WITH PLEA AGREEMENT” which
requests this Court to review his plea agreement Earnest styled his document with the docket
number for this dismissed and closed case. Earnest does not point out any alleged error in
the Court’s order of dismissal nor does he mention the AEDPA statute of limitations or any
additional grounds for equitable tolling. Earnest alleges that he “is only vaguely aware of
legislation recently passed allowing the release of prisoners in accordance with their plea
agreements or those going up for [a] parole hearing after and including the year 2001.” The
Court construes this allegation as Earnest’s contention that the “legislation” constitutes a
“new rule of constitutional law" which entitles him to relief under § 2254(e)(2)(A)(i).3
Earnest states that “his sentence is being enhanced or extended unfairly and unlawfully
thereby violating [his] constitutional rights.” He further alleges that “he has served the
required amount of time and should therefore be released” and requests that the Court “check
into [his] plea agreement With the criminal court and consider all conditions of [his] plea
agreement and the fact it was the agreement of the court and not a jury sentence.”

This Court must consider whether the irregular document is a motion for relief

pursuant to Rule 60(b) or a second or successive habeas petition under the AEDPA.4 The

 

3 Earnest does not specify whether the "legislation" is federal or Tennessee state legislation Likewise,

he does not articulate with any specificity the underlying basis of any federal constitutional claim.

4 Alternatively, the Court could direct the Clerk to remove this "petition" from this closed file and
docket it as a new habeas petition challenging an action by the Terinessee Board of Probation and Parole. Earnest
alleges that he received a parole hearing in 2000 and will not receive another hearing until 2010. He does not allege
that he filed an appeal of the Board’s decision pursuant to Tenn. Code Ann. § 40-28-105(d)(l l) or that after exhausting
his administrative appeals, he filed apetition for common law writ of certiorari in the Davidson County Chancery Court,
pursuant to Tenn. Code Ann. § 27-9-101. Beaucamp v. Tennessee Bd. of Paroles, 2001 WL 1545504, at *l (Tenn. Ct.
App. Dec. 5, 2001). Earnest alleges, that at some unspecified time, he filed a state habeas petition which was dismissed
in May of 2002. Earnest has failed to demonstrate exhaustion of administrative or state remedies for any petition
seeking review of a decision of the Tennessee Board of Probation and Parole. Thus, the Court declines to construe this
"petition" as a new habeas action challenging such decision. Fui‘thermore, Earnest does not request this Court to review

2

Case 1:04-cv-01105-.]DT-STA Document 8 Filed 06/30/05 Page 3 of 6 Page|D 13

AEDPA amended 28 U.S.C. § 2244(b) to preclude the filing of any subsequent habeas
petition absent permission from the Court of Appeals for the Circuit in Which the district
court is located. Under In re Sims, 111 F.3d 45, 47 (6th Cir. 1997), “when a second or
successive . . . § 2255 motion is filed in the district court without § 2244(b)(3) authorization
from [the Sixth Circuit], the district court shall transfer the document to this court pursuant
to 28 U.S.C. § 1631."

In Abdur’Rahman v. Bell, 392 F.3d 174 (6th Cir. 2004), the Sixth Circuit held that
“[w]hen the motion’s factual predicate deals primarily with the constitutionality of the
underlying state conviction or sentence,” the motion should be treated as a second or
successive petition. I_d. at 181 (quoting Rodwell v. Pepe, 324 F.3d 66, 70 (1st Cir. 2003). If,
however, “the motion’ s factual predicate deals primarily with Some irregularity or procedural
defect in the procurement of the judgment denying habeas relief,” then it should be treated
within the usual standards governing Rule 60(b) relief. l_d_. _S__ee_ _als_o Alley v. Bell, 392 F.3d
822, 828 (6‘h Cir. 2004), petition for cert. filed, (Dec. 16, 2004).

Earnest’s petition does not present any basis justifying relief under Rule 60(b).
Earnest does not contend that the Court should reconsider its ruling based upon any
“defective foundation.” Abdur’Rahman, 392 F.3d at 179. Rather, Earnest has filed a
“petition” based upon “legislation recently passed” seeking to vacate his conviction. Eamest
did not raise any issue of recent legislation as a ground for the Court’s consideration in the
petition filed on May 17, 2004. He clearly seeks, however, to vacate the state criminal
judgment with his newly filed “petition.”

Under §M, the Court construes this post-judgment “petition” as a request for

authorization to file a successive motion. Accordingly, it is hereby ordered pursuant to Sims

 

 

any decision by the Board or contend that the Board erred; he asks the Court to review his state plea bargain agreement

3

Case 1:04-cv-01105-.]DT-STA Document 8 Filed 06/30/05 Page 4 of 6 Page|D 14

and 28 U.S.C. § 1631 that the Clerk of Court docket the “petition” (docket entry 7) as a new
case and transfer it to the United States Court of Appeals for the Sixth Circuit. The Clerk
shall place a copy of this order in that case as well as case no. 04”1 105-T/An. The Clerk shall
include in the documents transmitted herewith a copy of all documents from case number
04-1 105-T/An.

As this case is not being closed, but only transferred, there is no final order from
which an appeal can be taken. The majority view of the federal appellate courts is that an
order of transfer under 28 U.S.C. § 1631 is anon-appealable collateral order. S_ee, gg, M
v. McGlame;y, 74 F.3d 218, 221-22 (10th Cir. 1996); Middlebrooks v. Smith, 735 F.2d 431,
432-33 (1 lth Cir. 1984)(holding non-appealable an order construing a habeas petition as a
§ 2255 motion to vacate and transferring to the sentencing court). Previous unpublished
decisions from the Sixth Circuit follow this reasoning w, egg McGhee v. Myers, 1999
WL 644374 (6th Cir. Aug. 18, 1999)(dismissing appeal from No. 99-2340-G/A (W.D. Tenn.
Apr. 19, 1999); Mario Gonzalez v. United States, No. 98-6099 (6th Cir. Oct. 1, 1998),
dismissing appeal from No. 98-2160-Tu/V (W.D. Tenn. Mar. 2, 1998); William Taylor v.
United States, No. 98-6062 (6th Cir. Sept. 22, 1998), dismissing appeal from No. 98-2142-
Tu/V (W.D. Tenn. Mar. 2, 1998). _C_l_f_.U.S.C. § 1631. Mln re Gregory, 181 F.3d 713,
715 (6th Cir. l999)(preterrnitting issue of whether a § 1631 order transferring a successive
§ 2255 motion from this District to the Eighth Circuit is appealable). _MM cited
McGlamery and Middlebrooks and dismissed an appeal from this Court of an order
transferring a successive § 2254 petition. Gonzalez and lam cited McGlamery and
Middlebrooks and dismissed appeals from this Court of orders transferring § 2255 motions

originally filed as habeas petitions This Court's order construing Eamest’s habeas petition

Case 1:04-cv-01105-.]DT-STA Document 8 Filed 06/30/05 Page 5 of 6 Page|D 15

as a successive § 2244 motion is not appealable Any appeal would be devoid of jurisdiction

~P‘;
iris so oRDERED this 30 day er iune, 2005.

  

Z.MJL

J'AMES D. TODD
UNITED TA'I`ES DISTRICT JUDGE

 

 

 

UNI"S,ATSED`TE iTRiCT OURT -wETRNDISTRiCT FENNSSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:04-CV-01105 was distributed by fax, mail, or direct printing on
July 1, 2005 to the parties listed.

 

John Lavelle Earnest
1485 54

Eriatric Squadbay 2-10
P.O. Box 182

Clifton7 TN 38425

Honorable .l ames Todd
US DISTRICT COURT

